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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 REBECCA CASTILLO, an individual,                )      Case No.
                                                 )
        Plaintiff,                               )      1:18-cv-00422
                                                 )
 vs.                                             )
                                                 )      Trial by Jury Demanded
 ANNE FONTAINE USA, INC.,                        )
                                                 )
        Defendant.                               )
                                                 )
                                                 )

               AMENDED COMPLAINT FOR INJUNCTIVE RELIEF,
         CIVIL MONETARY PENALTIES, AND OTHER EQUITABLE RELIEF

       Pursuant to Federal Rule of Civil Procedure 15(a)(1)(A), Plaintiff, REBECCA

CASTILLO, (“Plaintiff”), by and through her attorneys, against ANNE FONTAINE USA, INC.,

(“Defendant”), states for her Amended Complaint as follows:

                                         INTRODUCTION

       1.      Plaintiff is a blind and visually-impaired person who requires screen-reading

software to read website content using her computer.

       2.      Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with

visual impairments who meet the legal definition of blindness in that they have a visual acuity with

correction of less than or equal to 20 x 200. Some blind people who meet this definition have

limited vision. Others have no vision.

       3.      Plaintiff brings this civil rights action against Defendant for its failure to design,

construct, maintain, and operate its website, Annefontaine.com (the “website”) to be fully

accessible to and independently usable by Plaintiff and other blind or visually-impaired people.

       4.      Defendant’s denial of full and equal access to its website, and therefore denial of
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its products and services offered thereby, is a violation of Plaintiff’s rights under the Americans

with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).

       5.      Because Defendant’s website, Annefontaine.com is not fully and equally accessible

to blind and visually-impaired consumers in violation of the ADA, Plaintiff seeks a permanent

injunction to cause a change in Defendant’s corporate policies, practices, and procedures so that

Defendant’s website will become and remain accessible to blind and visually-impaired consumers,

including Plaintiff.

                                JURISDICTION AND VENUE

       6.      This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. §

12181, et seq., and 28 U.S.C. § 1332.

       7.      This court has supplemental jurisdiction over Plaintiff’s non-federal claims

pursuant to 28 U.S.C. § 1367, because Plaintiff’s UCRA claims are so related to Plaintiff’s federal

ADA claims, they form part of the same case or controversy under Article III of the United States

Constitution

       8.      This Court has personal jurisdiction over Defendant because it is deemed a resident

of the State of New York and it conducts and continues to conduct a substantial and significant

amount of business in the State of New York.

       9.      Venue is proper in the Southern District of New York pursuant to 28 U.S.C.

§1391(b)(1) because Defendant resides in this District and this Court has personal jurisdiction over

Defendant.

                                            PARTIES

       10.     Plaintiff, at all times relevant and as alleged herein, is a resident of California,
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County of Los Angeles. Plaintiff is also blind, visually-impaired person, and a member of a

protected class of individuals under the ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the

regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.

       11.     Plaintiff is informed and believes, and thereon alleges Defendant operates a website

that allows consumers to browse the products and accessories sold in its retail stores and via the

website. Defendant's headquarters are located in New York, New York.

       12.     Defendant’s website is a public accommodation within the definition of Title III of

the ADA, 42 U.S.C. § 12181(7) because its website is, or is part of, a “sales or rental

establishment,” and a “service establishment.”

       13.     Defendant has been and is committing the acts or omissions alleged herein in Los

Angeles County of the State of California which caused injury, and violated rights prescribed by

the ADA and UCRA, to Plaintiff and to other blind and other visually impaired-consumers. A

substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred in California.

Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment of

the facilities, goods, and services of Defendant’s website in Los Angeles County.

       14.     The access barriers Plaintiff encountered on Defendant’s website have caused a

denial of Plaintiff’s independent, full and equal access multiple times in the past, and now deter

Plaintiff from accessing Defendant’s website.

         THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET

       15.     The Internet has become a significant source of information, a portal, and a tool for

conducting business, doing everyday activities such as shopping, learning, banking, researching,

as well as many other activities for sighted, blind and visually-impaired persons alike. As an

essential tool for many Americans, when accessible, the Internet provides individuals with
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disabilities great independence.

       16.     Blind persons are able to access websites using keyboards in conjunction with

screen access software that vocalizes the visual information found on a computer or smart-phone

screen. This technology is known as screen-reading software and is also commonly referred to as

a screen reader.

       17.     Except for legally blind individuals whose residual vision allows them to use

magnification, screen-reading software is currently the only method a blind person can fully and

independently access the internet.

       18.     Unless websites are designed to allow screen-reading software users to navigate

Internet content by way of the keyboard or through moving their fingers over the smartphone

screen, blind and visually-impaired persons are unable to fully, equally and independently access

websites and the information, products, and services contained therein.

       19.     Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen-reading software programs available to them. Some

of these programs are available for purchase and other programs are available without the user

having to purchase the program separately.

       20.         Job Access With Speech, otherwise known as “JAWS,” is currently the most

popular, separately purchased and downloaded screen-reading software program available for a

Windows computer.

       21.     For screen-reading software to function, the information on a website must be

capable of being rendered into meaningful text so it may be read back to the user and then the user

can navigate a website and various web pages within a website using their keyboard.

       22.     If the website content is not capable of being rendered into meaningful text, the
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blind or visually-impaired user is not able to access and navigate the same content on a website

that is available to sighted users.

           23.   The ADA specifically provides, “No individual shall be discriminated against on

the basis of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations of any place of public accommodation by any person who owns,

leases (or leases to) or operates a place of public accommodation.” 42 U.S.C. §12182(a); 28 C.F.R.

§36.201(a). The ADA further requires that a public accommodation provide accessible electronic

and information technology as auxiliary aids and services. See 28 C.F.R. §36.303(a), (b) and

(c)(ii).

           24.   Within this context, numerous courts have recognized the viability of Unruh and

Americans with Disabilities Act (hereinafter “ADA”) claims against commercial website

owners/operators with regard to the accessibility of such websites. See, e.g., Brooke v. A-Ventures,

LLC, No. 2:17-cv-2868-HRH at 19. (A.Z. Nov. 22, 2017) (granting declaratory judgment that

defendant’s website did not comply with ADA; defendant enjoined to ensure equal access)

(“[D]efendant was in violation of the Americans with Disability Act because its hotel reservations

website did not afford disabled persons equal access to defendant’s public accommodation”);

Brooke v. Dinesh Bhakta, No. 2:17-cv-2663-HRH at 5. (A.Z. Nov. 21, 2017) (granting declaratory

judgment that defendant’s website did not comply with ADA; defendant enjoined to ensure equal

access) (“[D]efendants are hereby enjoined and directed to alter their website reservations system

so that ADA-accessible rooms may be reserved in the same manner as non-ADA-accessible

rooms.”); Rios v. New York & Company, Inc., No. 2:17-cv-04676-ODW (AGr) (C.D. Cal. Nov.

16, 2017) (Wright) (denying a motion for judgment on the pleadings sought against Unruh Act

claims) (“[T]he Court finds that this case is not unique, ‘as federal courts have resolved effective
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communication claims under the ADA in a variety of contexts— including cases involving

allegations of unequal access to goods, benefits and services provided through websites.’ Hobby

Lobby, 2017 WL 2957736, at *7”); Access Now, Inc. v. Blue Apron, LLC, No. 17-cv-116-JL at 21.

(C.D. N.H. November 8, 2017) (denying a motion to dismiss sought against ADA claims)

(“[Plaintiffs] rely on Title III of the ADA as governing the defendant’s potential liability and

invoke compliance with the WCAG 2.0 AA standards as a sufficient condition, but not a necessary

condition, for such compliance, and therefore as a potential remedy.”); Gorecki v. Dave &

Buster’s, Inc., No. 2:17-cv-01138-PSG-AGR (C.D. Cal. October 10, 2017) (Gutierrez, P.)

(denying a motion for summary judgment sought against ADA and California’s Unruh Civil Rights

Act claims)(“a finding of liability regarding the Website’s compliance with the ADA does not

require sophisticated technical expertise beyond the ability of the Court”); Kayla Reed v. CVS

Pharmacy, Inc., Case No. 2:17-cv-03877-MWF-SK, at *9. (C.D. Cal. Oct. 3, 2017) (Fitzgerald)

(denying a motion to dismiss sought against ADA and California’s Unruh Civil Rights Act claims)

(“The DOJ’s position that the ADA applies to websites being clear, it is no matter that the ADA

and the DOJ fail to describe exactly how any given website must be made accessible to people

with visual impairments. Indeed, this is often the case with the ADA’s requirements, because the

ADA and its implementing regulations are intended to give public accommodations maximum

flexibility in meeting the statute’s requirements. This flexibility is a feature, not a bug, and

certainly not a violation of due process."); Andrews v. Blick Art Materials, LLC, -- F. Supp. 3d --,

2017 WL 3278898, at *12, *15-*18 (E.D.N.Y. Aug. 1, 2017) (Weinstein, J.); Gomez v. Lego

Systems, Inc., Case 1:17-cv-21628-CMA (S.D. Fla. July 31, 2017) (denying a motion to dismiss

an ADA claim alleging an inaccessible commercial website) [ECF #40]; Thurston v. Chino

Commercial Bank, N.A., No. CV 17-01078 BRO (JCx), 2017 WL 3224681, at *5 (C.D. Cal. July
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27, 2017) (citing Gorecki); Markett v. Five Guys Enterprises LLC, No. 1:17-cv-00788-KBF, slip

op. at 4-6 [ECF #33] (S.D.N.Y. July 21, 2017); Gorecki v. Hobby Lobby Stores, Inc., No. 2:17-cv-

01131-JFW-SK, 2017 WL 2957736 (C.D. Cal. June 15, 2017) (Walter, J.) (denying a motion to

dismiss sought against ADA and California’s Unruh Civil Rights Act claims) (“[T]his is a

relatively straightforward claim that Hobby Lobby failed to provide disabled individuals full and

equal enjoyment of goods and services . . . by not maintaining a fully accessible website. There is

nothing unique about this case, as federal courts have resolved effective communication claims

under the ADA in a wide variety of contexts-- including cases involving allegations of unequal

access to goods, benefits and services provided through websites.”); Gil v. Winn-Dixie Stores, Inc.,

No. 16-23020-Civ-Scola, -- F. Supp. 3d --, 2017 WL 2547242, at *7 (S.D. Fla. June 13, 2017)

(finding that the defendant, a large supermarket chain, had violated the plaintiff’s rights under the

ADA by failing to maintain an accessible website after a non-jury trial); Frazier v. Ameriserv

Financial Bank, Nos. 2:16-cv-01898-AJS (Lead Case), 17cv0031 [ECF #107], slip op. at 20 (W.D.

Pa. Apr. 21, 2017) (denying a motion to dismiss an ADA claim alleging an inaccessible

commercial website); Frazier v. Churchill Downs Inc., Nos. 2:16-cv-01898-AJS (Lead Case),

2:16-cv-0007 (Member Case) [ECF #107] slip op. at 20 (W.D. Pa. Apr. 21, 2017) (same);

OmahaSteaks.com, Inc. v. Access Now, Inc., et al., No. 8:17-cv-00060-LSC-CRZ [ECF #9-1] (D.

Neb. Apr. 17, 2017) (consent decree); Access Now, Inc., et al. v. Omahasteaks.com, Inc., Nos.

2:16-cv-01898-AJS (Lead Case), 2:17-cv-00269-AJS (Member Case) [ECF #99] (W.D. Pa. Apr.

11, 2017 (same); Gil v. Winn-Dixie Stores, Inc., -- F. Supp. 3d --, No. 16-23020-Civ-Scola, 2017

WL 2609330 (S.D. Fla. Mar. 15, 2017) (denying a motion for judgment on the pleadings sought

against an ADA claim alleging an inaccessible commercial website); Nat’l Ass’n of the Deaf v.

Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL 3561622, at *12-*20 (D. Mass. Feb. 9,
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2016) (Robertson, Mag. J.) (recommending the denial of a motion to dismiss or stay predicated on

the primary jurisdiction doctrine), adopted in Nat’l Ass’n of the Deaf v. Harvard Univ., Case 3:15-

cv-30023-MGM, 2016 WL 6540446, at *1-*3 (D. Mass. Nov. 3, 2016) (Mastroianni, J.); Nat’l

Ass’n of the Deaf v. Massachusetts Inst. of Tech., Case 3:15- cv-30024-MGM, 2016 WL 3561631,

at *1 (D. Mass. Feb. 9, 2016) (Robertson, Mag. J.)(recommending the denial of a motion to dismiss

or stay predicated on the primary jurisdiction doctrine), adopted in Nat’l Ass’n of the Deaf v.

Massachusetts Inst. of Tech., Case 3:15-cv-30024-MGM, 2016 WL 6652471, at *1 (D. Mass. Nov.

4, 2016) (Mastroianni, J.); Edward Davis v. Orlando Wilshire Investments Ltd., et al., No. 5:15-

cv-01738-MWF-KK, slip op. at 10 [ECF #17] (C.D. Cal. Nov. 2, 2015) (Fitzgerald, J.) (denying

motion to dismiss in a website accessibility case) (“the Court concludes that the Complaint

sufficiently alleges that the inaccessibility of the Website impedes the full and equal enjoyment of

the Hotel.”); Nat’l Fed’n of the Blind v. Scribd, Inc., 98 F. Supp.3d 565, 576 (D. Vt. 2015) (denying

a motion to dismiss an ADA claim against a commercial website operator); James Patrick Brown

v. BPS Direct, LLC, et al., Case No. LACV 14-04622 JAK (JEMx) slip op. at 4-7 [ECF #30] (C.D.

Cal. Oct. 6, 2014) (Krondstadt, J.) (denying the defendant’s motion to dismiss while relying on the

Target decision as “persuasive”, and holding “the Complaint does allege that Bass Pro Shops is a

chain of brick-and-mortar stores and that BassPro.com is a website providing information about

Bass Pro Shops products, offers, and locations…. [and that] a nexus could be established here

through discovery.”); Penney v. Kohl’s Dep’t Stores, Inc., et al., No. 8:14-cv-01100-CJC-DFM

[ECF #12] slip op. at 3 (C.D. Cal. Sept. 23, 2014) (Carney, J.) (denying a motion to dismiss and

stating, “Thus, the Complaint states plausible facts that establish the requisite nexus between the

challenged service and the place of public accommodation.”); National Ass’n of the Deaf v. Netflix,

Inc., 869 F. Supp. 2d 196, 200 (D. Mass. 2012) (excluding web-based services would “run afoul
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of the purposes of the ADA and would severely frustrate Congress’s intent that individuals with

disabilities fully enjoy the goods, services, privileges, and advantages available indiscriminately

to other members of the general public”); id. at 200-01 (“[T]he legislative history of the ADA

makes clear that Congress intended the ADA to adapt to changes in technology.”) (quoting H.R.

Rep. 101-485(II), at 108 (1990)) (“[T]he Committee intends that the types of accommodation and

services provided to individuals with disabilities, under all of the titles of this bill, should keep

pace with the rapidly changing technology of the times.”); Shields v. Walt Disney Parks and

Resorts US, Inc., 279 F.R.D. 529, 559 (C.D. Cal. 2011) (rejecting as “unpersuasive” Disney’s

argument that “there is no accepted accessibility standard” and the argument that the DOJ has yet

to determine what standards to apply to websites and stating, “The lack of a widely accepted

standard for website accessibility does not preclude injunctive relief that would improve access to

Defendants’ websites by the visually impaired.”); Nat’l Federation of the Blind v. Target Corp.,

452 F. Supp. 2d 946, 953 (N.D. Cal. 2006) (“To limit the ADA to discrimination in the provision

of services occurring on the premises of a public accommodation would contradict the plain

language of the statute.”); id. at 953-54 (“consistent with the plain language of the statute, no court

has held that under the nexus theory a plaintiff has a cognizable claim only if the challenged service

prevents physical access to a public accommodation. Further, it is clear that the purpose of the

statute is broader than mere physical access—seeking to bar actions or omissions which impair a

disabled person’s “full enjoyment” of services or goods of a covered accommodation. 42 U.S.C.

§ 12182(a). Indeed, the statute expressly states that the denial of equal “participation” or the

provision of “separate benefit[s]” are actionable under Title III. See 42 U.S.C. § 12182(b)(1)(A).”);

cf. Hindel v. Husted, No. 2017 WL 432839, at *7 (S.D. Ohio Feb. 1, 2017) (granting a permanent

injunction against the Ohio Secretary of State based on the accessibility of the state’s website under
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Title II of the ADA and requiring accessibility); Hindel v. Husted, No. 17-3207 (6th Cir., Nov. 13,

2017) (defendant bears the burden of production and persuasion as to affirmative defenses such as

fundamental alteration and subject matter of state election laws do not relieve defendant of these

burdens); Davis v. BMI/BNB Travelware company No. CIVDS1504682 WL2935482 (Cal.Super.

March 21, 2016)(granting motion for summary judgment for plaintiff and ordering that defendant’s

website be made WCAG 2.0 compliant and awarding Unruh damages in favor of plaintiff).

        25.     Commercial websites that are not accessible for blind and visually-impaired

individuals using screen-readers and keyboards only, violate this basic mandate of the ADA. See

National Federation of the Blind v. Target Corp., 452 F. Supp. 2d 946 (N.D. Cal. 2006).

        26.     The Department of Justice (the “DOJ”) has consistently stated its view that the

ADA's accessibility requirements apply to websites belonging to private companies. See, e.g.,

Applicability of the Americans with Disabilities Act (ADA) to Private Internet Sites: Hearing

before the House Subcommittee on the Constitution of the House Committee on the Judiciary,

106th Cong., 2d Sess. 65-010 (2000) ("It is the opinion of the Department of Justice currently that

the accessibility requirements of the Americans with Disabilities Act already apply to private

Internet Web sites and services."); 75 Fed. Reg. 43460-01 (July 6, 2010) ("The Department

believes that title III reaches the Web sites of entities that provide goods or services that fall within

the 12 categories of 'public accommodations,' as defined by the statute and regulations."). Thus,

Defendant is on notice that the ADA’s general mandate applies to website accessibility. See

Fortyune v. City of Lomita, 766 F.3d 1098, 1102 (9th Cir. 2014); Reich v. Mont. Sulphur & Chem.

Co., 32 F.3d 440, 444–45 (9th Cir. 1994).

                  DEFENDANT’S FAILURE TO MAKE ITS WEBSITE
                ACCESSIBLE AND PLAINTIFF’S ATTEMPTS TO ACCESS

        27.     Defendant offers the commercial website, Annefontaine.com to the public.
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       28.     The website offers features which should allow all consumers to access the goods

and services Defendant offers.

       29.     The goods and services offered by Defendant’s website include, but are not limited

to the following, which should allow all consumers to: browse products offered for sale, learn

about new arrivals and special editions, log-in, register, and shop.

       30.     Based on information and belief, it is Defendant's policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, access to Defendant’s website, and to

therefore specifically deny the goods and services that are offered therein and available at its retail

locations.

       31.     Due to Defendant's failure and refusal to remove access barriers to its website,

Plaintiff and visually-impaired persons have been and are still being denied equal access to the

numerous goods, services, and benefits offered to the public through Annefontaine.com.

       32.     Plaintiff cannot use a computer without the assistance of screen-reading software.

       33.     However, Plaintiff is a proficient user of the JAWS screen-reader and uses it to

access the internet.

       34.     Plaintiff has visited Annefontaine.com on several separate occasions using the

JAWS screen-reader.

       35.     Plaintiff first visited the website in November of 2017 with the intention of

shopping for a purse. Plaintiff found unlabeled buttons and links prevented her from navigating

the website. Plaintiff also found at least one cursor trap that prevented her from navigating the

website. Plaintiff encountered multiple pages that did not contain sufficient navigational headings,

requiring her to expend substantial additional time to access information. Plaintiff was also unable

to register for an account because of an inaccessible sign up system. Lastly, Plaintiff could not
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make a purchase online because the checkout system was inaccessible.

       36.     Due to the widespread access barriers Plaintiff encountered on Defendant’s

website, Plaintiff has been deterred, more than once, from accessing Defendant’s website and this

has prevented her from full and equal access of Defendant’s products and services.

       37.     On more than one occasion in 2017 Plaintiff attempted to do business with

Defendant by using Annefontaine.com and Plaintiff encountered barriers to access on the website.

       38.     Despite past and recent attempts to do business with Defendant by visiting its

website, the numerous access barriers contained on the website encountered by Plaintiff, have

denied Plaintiff full and equal access.

       39.     Plaintiff, as a result of the barriers on Defendant’s website continues to be deterred

on a regular basis from accessing Defendant’s website.

       40.     Due to the inaccessibility of Annefontaine.com, blind and visually-impaired

consumers, such as Plaintiff, who need screen-readers, cannot fully and equally use or enjoy the

facilities, goods, and services Defendant offers to the public on its website.

       41.     The access barriers Plaintiff encountered on Defendant’s website have caused a

denial of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a

regular basis from accessing Defendant’s website.

       42.     If Annefontaine.com was equally accessible to all, Plaintiff could independently

navigate Defendant’s website and complete a transaction as sighted individuals do.

       43.     Having made many attempts to use Defendant’s website, Plaintiff has actual

knowledge of the access barriers that make these privileges, goods and services inaccessible and

independently unusable by blind and visually-impaired people.

       44.     Because maintaining and providing a website that is fully and equally accessible to
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all consumers would provide Plaintiff and other visually-impaired consumers with full and equal

access to Annefontaine.com, Plaintiff alleges that Defendant has engaged in acts of intentional

discrimination, including but not limited to the following policies or practices:

             a.    Construction and maintenance of a website that is inaccessible to visually-

                   impaired individuals, including Plaintiff;

             b.    Failure to construct and maintain a website that is sufficiently intuitive so as to

                   be equally accessible to visually-impaired individuals, including Plaintiff; and,

             c.    Failure to take actions to correct these access barriers in the face of substantial

                   harm and discrimination to blind and visually-impaired consumers, such as

                   Plaintiff, as a member of a protected class.

       45.        Defendant therefore uses standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others, as alleged herein.

       46.        The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks

in this action. In relevant part, the ADA requires:

       “In the case of violations of . . . this title, injunctive relief shall include an order to alter
       facilities to make such facilities readily accessible to and usable by individuals with
       disabilities….Where appropriate, injunctive relief shall also include requiring the . . .
       modification of a policy. . .”
       (42 U.S.C. § 12188(a)(2).)

       47.        Because Defendant’s website is not equally accessible, and because Defendant

lacks a corporate policy that is reasonably calculated to cause its website to become and remain

accessible, Plaintiff invokes the provisions of 42 U.S.C. § 12188(a)(2), and seeks a permanent

injunction requiring Defendant to retain a qualified consultant acceptable to Plaintiff (“Agreed

Upon Consultant”) to comply with the ADA and make the website accessible. To do so, Defendant

must utilize input from the Agreed Upon Consultant in order for Defendant to modify the website's
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functionality so as to provide effective communication about the goods, services and/or privileges

offered by the website to screen-reader users, instead of only providing such functionality to

sighted persons.

       48.      Plaintiff seeks that this permanent injunction require Defendant to cooperate with

the Agreed Upon Consultant to:

                   a. Train    Defendant’s     employees     and       agents   who   develop   the

                       Annefontaine.com website on accessibility and compliance with the ADA

                       using criteria which will provide effective communication to persons who

                       blind and use screen-readers;

                   b. Regularly check the accessibility of Defendant’s website to maintain

                       accessibility as required by the ADA using criteria which will provide

                       effective communication to persons who blind and use screen-readers;

                   c. Regularly test end-user accessibility of the websites by screen-reader users

                       to ensure that Defendant’s website is accessible to blind and visually-

                       impaired individuals who would access them with screen-reading

                       technology and prove effective communication; and,

                   d. Develop an accessibility policy that is clearly disclosed on its website, with

                       contact information for users to report accessibility-related problems and be

                       provided with meaningful resolution after Defendant has investigated and

                       identified the accessibility-related problem.

       49.      If Annefontaine.com was accessible to screen-reader users, Plaintiff and similarly

situated blind and visually-impaired people could independently access Defendant's products and

services.
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        50.     Although Defendant may currently have centralized policies regarding the

maintenance and operation of its website, Defendant lacks a plan and policy reasonably calculated

to make its website fully and equally accessible to, and independently usable by, blind and other

visually-impaired consumers.

        51.     Without injunctive relief, Plaintiff and other visually-impaired consumers will

continue to be unable to independently use the Defendant's website in violation of their rights.

                                             COUNT I

              [VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT]

        52.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged above and

each and every other paragraph in this Complaint necessary or helpful to state this cause of action

as though fully set forth herein.

        53.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

        “No individual shall be discriminated against on the basis of disability in the full and equal
        enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
        any place of public accommodation by any person who owns, leases (or leases to), or
        operates a place of public accommodation.”


(42 U.S.C. § 12182(a).)

        54.     The ADA requires that the place of public accommodation not discriminate in any

way in which it interacts with the public, whether by selling products at a physical location or over

a virtual location on the Internet.

        55.     Defendant's website, Annefontaine.com, is therefore a public accommodation

within the definition of Title III of the ADA, 42 U.S.C. § 12181.

        56.     Annefontaine.com is a service, privilege, or advantage of Defendant.

        57.     Annefontaine.com is a service that is integrated with Defendant's products and
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services.

       58.      Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity.           (42 U.S.C. §

12182(b)(1)(A)(i).)

       59.      Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodation, which is equal to the opportunities

afforded to other individuals. (42 U.S.C. § 12182(b)(1)(A)(ii).)

       60.      Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things:

       “[A] failure to make reasonable modifications in policies, practices, or procedures, when
       such modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities, unless the entity can
       demonstrate that making such modifications would fundamentally alter the nature of such
       goods, services, facilities, privileges, advantages or accommodations; and a failure to take
       such steps as may be necessary to ensure that no individual with a disability is excluded,
       denied services, segregated or otherwise treated differently than other individuals because
       of the absence of auxiliary aids and services, unless the entity can demonstrate that taking
       such steps would fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue burden.”

       (42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).)

       61.      The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder.

       62.      Plaintiff, who is a member of a protected class of persons under the ADA, has a

physical disability that substantially limits the major life activity of sight within the meaning of 42

U.S.C. §§ 12102(1)(A)-(2)(A).

       63.      Furthermore, Plaintiff has been denied full and equal access to Annefontaine.com,
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has not been provided services which are provided to other patrons who are not disabled, and has

been provided services that are inferior to the services provided to non-disabled persons.

       64.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

       65.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff, requests relief as set forth below.

       WHEREFORE, Plaintiff prays pray for judgment in her favor and against Defendant, as

follows:

               1.      A Declaratory Judgment that, at the commencement of this action,

       Defendant was in violation of the specific requirements of Title III of the ADA 42 U.S.C.

       § 12181 et seq., and the relevant implementing regulations of the ADA, for Defendant’s

       failure to take action that was reasonably calculated to ensure that its website was fully and

       equally accessible to, and independently usable by, blind and visually-impaired

       individuals;

               2.      A preliminary and permanent injunction enjoining Defendant from further

       violations of the ADA, 42 U.S.C. § 12181 et seq., with respect to its website,

       Annefontaine.com;

               3.      A preliminary and permanent injunction requiring Defendant to take the

       steps necessary to make Annefontaine.com readily accessible to and usable by blind and

       visually-impaired individuals;

               4.      For attorneys' fees and expenses pursuant to all applicable laws including,

       without limitation, pursuant to 42 U.S.C. § 12188(a)(1);

               5.      For compensatory damages including, but not limited to, mental anguish,
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       loss of dignity, and any other intangible injuries suffered by the Plaintiff as a result of

       Defendant’s discrimination;

               6.      For prejudgment interest to the extent permitted by law;

               7.      For costs of suit; and

               8.      For such other and further relief as this Court deems just and proper.

                                            COUNT II

                         [VIOLATIONS OF THE UNRUH CIVIL
                    RIGHTS ACT, CALIFORNIA CIVIL CODE § 51 et seq.]

       66.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged above and

  each and every other paragraph in this Complaint necessary or helpful to state this second cause

  of action as though fully set forth herein.

       67.     California Civil Code § 51 et seq. guarantees equal access for people with

disabilities to the accommodations, advantages, facilities, privileges, and services of all business

establishments of any kind whatsoever. Defendant is systematically violating the UCRA, Civil

Code § 51 et seq.

       68.     Defendant’s website is a "business establishments" within the meaning of the Civil

Code § 51 et seq. Defendant generates millions of dollars in revenue from the sale of goods through

its Annefontaine.com website. Defendant’s website is a service provided by Defendant that is

inaccessible to patrons who are blind or visually-impaired like Plaintiff. This inaccessibility denies

blind and visually-impaired patrons full and equal access to the facilities, goods, and services that

Defendant makes available to the non-disabled public. Defendant is violating the UCRA, Civil

Code § 51 et seq., by denying visually-impaired customers the goods and services provided on its

website, Annefontaine.com. These violations are ongoing.

       69.     Defendant’s actions constitute intentional discrimination against Plaintiff on the
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basis of a disability, in violation of the UCRA, Civil Code § 51 et seq., because Defendant has

constructed a website that is inaccessible to Plaintiff, Defendant maintains the website in an

inaccessible format, and Defendant has failed to take actions to correct these barriers.

       70.     Defendant is also violating the UCRA, Civil Code § 51 et seq. because the conduct

alleged herein violates various provisions of the ADA, 42 U.S.C. § 12101 et seq., as set forth

above. Section 51(f) of the Civil Code provides that a violation of the right of any individual under

the ADA also constitutes a violation of the UCRA.

       71.     The actions of Defendant violate UCRA, Civil Code § 51 et seq., and Plaintiff is

therefore entitled to injunctive relief remedying the discrimination.

       72.     Plaintiff is entitled to statutory minimum damages pursuant to Civil Code § 52 for

each and every offense.

       73.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       WHEREFORE, Plaintiff prays pray for judgment in her favor and against Defendant, as

follows:

               1.      A preliminary and permanent injunction enjoining Defendant from

       violating the UCRA, Civil Code § 51 et seq, with respect to its website;

               2.      A preliminary and permanent injunction requiring Defendant to take the

       steps necessary to make its website readily accessible to and usable by blind and visually-

       impaired individuals;

               3.      An award of statutory minimum damages of $4,000 per violation pursuant

       to § 52(a) of the California Civil Code;

               4.      For attorneys' fees and expenses pursuant to all applicable laws including,

       without limitation, pursuant to California Civil Code § 52(a);
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             5.      For prejudgment interest to the extent permitted by law;

             6.      For costs of suit; and

             7.      For such other and further relief as this Court deems just and proper.



                                     JURY DEMAND

      Plaintiff hereby demands trial by jury.


Dated: March 15, 2018                               Respectfully submitted,




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